Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 1 of 9



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

 JESUS GONZALEZ, an individual,

                Plaintiff,                               CASE NO.:
 v.

 TAHITIAN INN, LLC,

       Defendant.
 ______________________________________/

                                              COMPLAINT

           Plaintiff, JESUS GONZALEZ, (hereinafter “Plaintiff”), sues TAHITIAN INN, LLC

 (hereinafter “Defendant”) for injunctive relief, attorneys’ fees, and litigation costs, including but

 not limited to disbursements, court expenses, and other fees, pursuant to the Americans with

 Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA Accessibility Guidelines, 28

 C.F.R. Part 36 (hereinafter “ADAAG”), and alleges:

                                             INTRODUCTION

           1.        Defendant owns and/or operates that certain hotel known as Tahitian Inn, located

 in Tampa, Florida (the “Hotel”). The Hotel has a website located at www.tahitianinn.com (the

 “Website”). The Hotel takes reservations through its website and/or a third-party website and

 provides information regarding available guestrooms and amenities.

      2.    As of March 15, 2012, Defendant was required to ensure that all of its reservation systems,

 including its online reservation systems (a) identify and describe disabled accessible features of

 the Hotel in detail; (b) identify and describe disabled accessible features of ADA compliant guest

 rooms in detail; (c) permit disabled individuals to independently assess whether the Hotel and its

 available guestrooms meet their individual accessibility needs (by describing accessible and
Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 2 of 9



 inaccessible features); and (d) allow reservations to be taken for accessible guestrooms in the same

 manner as for non-accessible guestrooms.1 Defendant has not complied. This lawsuit follows.

                                    JURISDICTION AND VENUE

     3. This Court has original subject matter jurisdiction over this action pursuant to 28 U.S.C.,

 §§1331, 1343, as Plaintiff’s claims arise under 42 U.S.C. §12181. et seq., based upon the

 enumerated violations of Title III of the Americans with Disabilities Act (see also, 28 U.S.C. §§

 2201 and 2202).

     4. Defendant is subject to personal jurisdiction in the State of Florida. The Hotel is located

 and doing business in the State of Florida. Defendant also owns or operates the Website, which is

 an interactive website through which Defendant seeks to consummate financial transactions

 (reservations and payments) with residents of this District (and others) who visit the Website, and

 Defendant violated Plaintiff’s civil rights in this District, as set forth more fully below.

     5. Venue lies in this District because a substantial part of the events or omissions giving rise

 to the claims here at issue occurred in this District; to wit, Plaintiff encountered Defendant’s ADA

 violations in this District.

                                              PARTIES

     6.    At all times material hereto, Plaintiff, JESUS GONZALEZ, was and is over the age of

 18 years, sui juris, and a resident of Miami-Dade County, Florida.

     7.    Plaintiff has at all material times suffered from a “qualified disability” under the ADA.

 Plaintiff has been diagnosed with paraplegia and uses a wheelchair for mobility purposes.




     1
       This is a non-exclusive list of requirements imposed by 28 C.F.R. §36.302(e)(l). These
 requirements apply not only to the Website, but also to every online reservation system on which
 reservations can be made to stay at the Hotel, including orbitz.com, travelocity.com, hotels.com,
 and others.
                                                      2
Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 3 of 9



    8.    Defendant is a Florida profit corporation conducting business in Tampa, Florida, and is

 the owner and/or operator of the Hotel and has control over the content of the Website.

                                    COUNT I
                VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

    9.    On July 26, 1990, Congress enacted the ADA, explaining that its purpose was to provide

 a clear and comprehensive national mandate for the elimination of discrimination against

 individuals with disabilities and to provide clear, strong, consistent, enforceable standards

 addressing such discrimination, invoking the sweep of congressional authority in order to address

 the major areas of discrimination faced day-to-day by people with disabilities to ensure that the

 Federal government plays a central role in enforcing the standards set by the ADA. 42 U.S.C. §

 12101(b)(l) - (4).

    10. Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

 Department of Justice, Office of the Attorney General (“DOJ”), published revised regulations for

 Title III of the Americans With Disabilities Act of 1990. Public accommodations, including places

 of lodging were required to conform to these revised regulations on or before March 15, 2012.

    11. On March 15, 2012, the revised regulations implementing Title III of the ADA took

 effect, imposing significant new obligations on inns, motels, hotels and other “places of lodging.”

 28 C.F.R. §36.302(e)(l) provides that:

                Reservations made by places of lodging. A public accommodation
                that owns, leases (or leases to), or operates a place of lodging shall,
                with respect to reservations made by any means, including by
                telephone, in-person, or through a third party –

                       (i)     Modify its policies, practices, or procedures to
                               ensure that individuals with disabilities can make
                               reservations for accessible guest rooms during the
                               same hours and in the same manner as individuals
                               who do not need accessible rooms;



                                                    3
Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 4 of 9



                        (ii)    Identify and describe accessible features in the hotels
                                and guest rooms offered through its reservations
                                service in enough detail to reasonably permit
                                individuals with disabilities to assess independently
                                whether a given hotel or guest room meets his or her
                                accessibility needs;

                        (iii)   Ensure that accessible guest rooms are held for use
                                by individuals with disabilities until all other guest
                                rooms of that type have been rented and the
                                accessible room requested is the only remaining
                                room of that type;

                        (iv)    Reserve, upon request, accessible guest rooms or
                                specific types of guest rooms and ensure that the
                                guest rooms requested are blocked and removed
                                from all reservations systems; and

                        (v)     Guarantee that the specific accessible guest room
                                reserved through its reservations service is held for
                                the reserving customer, regardless of whether a
                                specific room is held in response to reservations
                                made by others.

    12. In promulgating the new requirements, the Department of Justice made clear that

 individuals with disabilities should be able to reserve hotel rooms with the same efficiency,

 immediacy, and convenience as those who do not need accessible guestrooms. 28 C.F.R. Part 36,

 Appx. A.

    13. Hotels (and motels) are required to identify and describe all accessible features in the

 hotel and guestrooms; “[t]his requirement is essential to ensure individuals with disabilities receive

 information they need to benefit from the services offered by the place of lodging.” 28 C.F.R. Part

 36, Appx. A. Moreover, “a public accommodation’s designation of a guestroom as “accessible”

 does not ensure necessarily that the room complies with all of the 1991 Standards.” 28 C.F.R. Part

 36, Appx. A. Labeling a guestroom as “accessible” or “ADA” is not sufficient.

    14. In addition,



                                                     4
Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 5 of 9



                hotel rooms that are in full compliance with current standards may
                differ, and individuals with disabilities must be able to ascertain
                which features – in new and existing facilities – are included in the
                hotel’s accessible guest rooms. For example, under certain
                circumstances, an accessible hotel bathroom may meet accessibility
                requirements with either a bathtub or a roll in shower. The presence
                or absence of particular accessible features such as these may mean
                the difference between a room that is usable by a particular person
                with a disability and one that is not.

 28 C.F.R. Part 36, Appx. A. Accordingly, Defendant is required to set forth specific accessible

 features and not merely recite that a guestroom is “accessible” or “ADA” or list accessibility

 features that may (or may not) be offered within a particular room.

    15. For hotels in buildings constructed after the effective date of the 1991 Standards, it is

 sufficient to advise that the hotel itself is fully ADA compliant, and for each accessible guestroom,

 to specify the room type, the type of accessible bathing facility in the room, and the

 communications features in the room. 28 C.F.R. Part 36, Appx. A.

    16.    However, for hotels in buildings constructed prior to the 1991 Standards, information

 about the hotel should include, at a minimum

                information about accessible entrances to the hotel, the path of travel
                to guest check-in and other essential services, and the accessible
                route to the accessible room or rooms. In addition to the room
                information described above, these hotels should provide
                information about important features that do not comply with the
                1991 Standards. For example, if the door to the “accessible” room
                or bathroom is narrower than required, this information should be
                included (e.g., door to guest room measures 30 inches clear).
                [emphasis added].

    28 C.F.R. Part 36, Appx. A.

    17. The Hotel is a place of public accommodation that owns and/or leases and operates a

 place of lodging pursuant to the ADA. The Hotel is in a building constructed prior to the 1991

 Standards.



                                                    5
Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 6 of 9



    18. The Website (and all other online reservation platforms used by the Hotel) allow

 reservations for the Hotel to be taken online. The Defendant has control over information provided

 to the public about the Hotel through the Website and/or other online platforms.

    19. It is critically important to Plaintiff that any hotel at which he stays is accessible to him,

 which takes some research. Plaintiff frequently researches and assesses the accessible features and

 guestrooms of hotels online, which is the fastest, easiest, and most convenient way for him to do

 so, in furtherance of any planned trips he may have. Plaintiff also visits hotel websites as a tester,

 in order to verify compliance with the ADA, and brings lawsuits when appropriate to remedy ADA

 violations that he has encountered, which affect himself and similarly situated disabled persons.

    20.    Prior to filing this lawsuit, Plaintiff visited the Website to learn about accessible features

 of the Hotel, to independently assess whether the Hotel is accessible to him, and to see if he could

 reserve an accessible room at the Hotel online; in short, to see whether the Website complies with

 the ADA standards set forth herein.

    21. Upon his visit, Plaintiff discovered that the Website did not provide the required

 accessibility information about the Hotel common areas, or allow for the reservation of an

 accessible room with known accessibility features, all in violation of 42 U.S.C. § 12181 et seq.

 (“ADA”) and the ADA Accessibility Guidelines, 28 C.F.R. Part 36.

    22. In addition, upon information and belief, Defendant may not effectively (i) ensure that

 accessible guest rooms are held for use by individuals with disabilities until all other guest rooms

 of that type have been rented and the accessible room requested is the only remaining room of that

 type; (ii) reserve, upon request, accessible guest rooms or specific types of guest rooms and ensure

 that the guest rooms requested are blocked and removed from all reservations systems; or (iii)

 guarantee that the specific accessible guest room reserved through its reservations service is held



                                                     6
Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 7 of 9



 for the reserving customer, regardless of whether a specific room is held in response to reservations

 made by others. Discovery is required on these issues.

    23. Plaintiff will visit the Website again upon the Defendant’s compliance with the laws and

 regulations specified herein, in order learn about the accessible (and inaccessible) features of the

 Hotel, learn about the accessible (and inaccessible) features of Hotel guestrooms, assess the extent

 to which the hotels meet each of his specific accessibility needs, determine whether he can reserve

 an accessible guestroom, and whether the Hotel in compliance with ADA requirements.

    24. Defendant has discriminated against Plaintiff and all other mobility-impaired individuals,

 by denying full and equal access to and enjoyment of the goods, services, facilities, privileges,

 advantages and accommodations offered on the Websites, due to the continuing ADA and

 ADAAG violations as set forth above. Defendant has had eight (8) years to bring the Website (and

 other online reservation platforms, as applicable) into compliance with the ADAAG revisions, but

 has failed or refused to do so.

    25. Modifying the Website (and other online reservation platforms, as applicable) to comply

 with the ADA and ADAAG is accomplishable without undue burden or expense and is readily

 achievable. But in any event, upon information and belief, the Website has been altered, updated,

 and edited, after 2010, but not in a manner compliant with 2010 ADAAG standards.

    26. Defendant will continue to discriminate against Plaintiff and all other disabled

 individuals who access the Website (and other online reservation platforms, as applicable) unless

 and until Defendant modifies the Website (and other online reservation platforms, as applicable)

 to set forth all required information, as set forth above.

    27. Plaintiff is without an adequate remedy at law and is suffering irreparable harm, and

 Plaintiff reasonably anticipates that he will continue to suffer this harm unless and until Defendant



                                                     7
Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 8 of 9



 is required to correct the ADA violations found upon the Websites (and other online reservation

 platforms, as applicable), and to maintain the Websites (and other online reservation platforms, as

 applicable), inclusive of the online reservation system, and accompanying policies and procedures,

 in a manner that is consistent with and compliant with ADA and ADAAG requirements.

    28. Pursuant to 42 U.S.C. §12188(a) this Court has authority to grant injunctive relief to

 Plaintiff, including an Order that compels Defendant to enact policies that are consistent with the

 ADA and its remedial purposes, and to alter and maintain its Website (and other online reservation

 platforms, as applicable), and all online reservation systems, in accordance with the requirements

 set forth within the 2010 Standards, 28 C.F.R. §36.302(e)(l).

        WHEREFORE, Plaintiff, JESUS GONZALEZ, respectfully requests that this Court enter

 judgment against Defendant, and in his favor, as follows:

            a. A declaration that the Website (and other online reservation platforms, as

                applicable) is owned, leased, operated, and/or controlled by Defendant is in

                violation of the ADA;

            b. Temporary and permanent injunctive relief enjoining Defendant from continuing

                its discriminatory practices, including the requirement that Defendant permanently

                implement policies, practices, procedures, including online content, consistent with

                the mandates of the 2010 ADAAG Standards on its Website (and other online

                reservation platforms, as applicable);

            c. Temporary and permanent injunctive relief enjoining Defendant from maintaining

                or controlling content on any website through which it is offering online

                reservations for any hotel that it owns or operates, unless such website and online

                reservation system fully comply with 28 C.F.R. §36.302(e)(l);



                                                   8
Case 1:20-cv-23664-RNS Document 1 Entered on FLSD Docket 09/02/2020 Page 9 of 9



          d. An award of reasonable attorneys’ fees, costs, disbursements and other expenses

             associated with this action, in favor of Plaintiff;

          e. An award of compensatory damages deemed just and appropriate to Plaintiff; and

          f. Such other and further relief as this Court deems just, necessary and appropriate

             under the circumstances.

       DATED this 2nd day of September, 2020.

                                                       Respectfully Submitted,

                                                       LAW OFFICES OF NOLAN KLEIN
                                                       Attorneys for Plaintiff
                                                       5550 Glades Road, Suite 500
                                                       Boca Raton, FL 33431
                                                       PH: (954) 745-0588
                                                       www.nklegal.com

                                                 By:     /s/ Nolan Klein
                                                       NOLAN KLEIN, ESQUIRE
                                                       Florida Bar No. 647977
                                                       klein@nklegal.com
                                                       amy@nklegal.com




                                                  9
